Case 1-1y-44204-eSS DOC FileaO/s//ili/ly centered O//Llily Lragiol

Fill in this information to identify the case:

 

United States Bankruptcy Court for the: ;
Eastern District of New York
(State)
Case number (if known): Chapter i Q) Check if this is an
amended filing

 

Official Form 201 :
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/19

 

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name 5505 Associates LLC

 

 

 

2. All other names debtor used
in the last 8 years

 

 

 

Include any assumed names,
trade names, and doing business
as names

 

 

 

3. Debtor’s federal Employer
Identification Number (EIN) TO ee

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

5505 5th Avenue

 

 

 

 

 

 

Number Street Number Street
P.O. Box
Brooklyn New York 11220
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business
Kings County

 

County

 

Number Street

 

 

City State ZIP Code

 

5. Debtor’s website (URL)

&) Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP)
C) Other. Specify:

6. Type of debtor

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 1-1y-44204-eSS DOC FileaO/s//ili/ly centered O//Llily Lragiol

Debtor 5505 Associates LLC

Case number (if known),

 

Name

7. Describe debtor’s business

A. Check one:

LJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(] Railroad (as defined in 11 U.S.C. § 101(44))

(I Stockbroker (as defined in 11 U.S.C. § 101(53A))

CL) Commodity Broker (as defined in 11 U.S.C. § 101(6))

(] Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check all that apply:

Cl Tax-exempt entity (as described in 26 U.S.C. § 501)

L] investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

() Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

Cc. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes .

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one:

CJ Chapter 7
UY Chapter 9
Chapter 11. Check aif that apply:

(2 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

LU) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Qa plan is being filed with this petition.

im Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

 

42b-2.

() Chapter 12

No

Cl Yes. District When Case number
MM/ DD/YYYY

District When Case number

MM/ DD/YYYY

CJ No

See Rider 1

Yes. Debtor Co-Mortgagor/A ffiliate

District Eastern District of New York When 07/11/2019
MM / DD /YYYY

Relationship

 

 

 

Case number, if known

 

Voluntary Petition for Non-individuals Filing for Bankruptcy page 2
Case 1-1y-44204-eSS DOoCcCl FileaO/s/fii/ly centered Of/Llily Lriagiol

Debtor 5505 Associates LLC

Name

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

Check all that apply:

Case number (if known),

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

No

Lia bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

(J Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

OO) it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

C) it needs to be physically secured or protected from the weather.

CI it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

other

 

Where is the property?

 

Number Street

 

 

City

Is the property insured?

C] No

&) Yes. insurance agency

Contact name

Phone

| Statistical and administrative information

United Risk Management

State ZIP Code

 

 

(718) 387 - 3031

 

 

13. Debtor’s estimation of
available funds

Check one:

Funds will be available for distribution to unsecured creditors.

C] After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

44. Estimated number of
creditors

15. Estimated assets

1-49

L) 50-99
CJ 100-199
CJ 200-999

(J $0-$50,000

C] $50,001-$100,000
C] $100,001-$500,000
CL) $500,001-$1 million

(J 1,000-5,000
C] 5,001-10,000
CL) 10,001-25,000

$1,000,001-$10 million

CJ $10,000,001-$50 million
L) $50,000,001-$100 million
OQ) $100,000,001-$500 million

LJ 25,001-50,000

CJ 50,001-100,000
CO More than 100,000

CJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
() More than $50 billion

 

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Case 1-1y-44204-eSS DOC FileaO/s//ili/ly centered O//Llily Lragiol

5505 Associates LLC

 

 

Debtor Case number (if known)
Name
a Q) $0-$50,000 & $1,000,001-$10 million OQ $500,000,001-$1 billion
16. Estimated liabilities Q $50,001-$100,000 UO) $10,000,001-$50 million C2 $1,000,000,001-$10 billion
CO) $100,001-$500,000 Q) $50,000,001-$100 million Q $10,000,000,001-3$50 billion
O) $500,001-$1 milion ©) $100,000,001-$500 million O) More than $50 billion

ae Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of = Thedebtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

debtor petition.

u | have been authorized to file this petition on behalf of the debtor.

™ | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

 

Executed on 97/11/2019
ah MM_.4DD /YYYY
x pe Ag ¢ Chu H. Kwon
= 7 7
Signature of authorized representative of debtor Printed name

Title Managing Member

 

 

 

 

 

 

 

 

 

 

18. Signature of attorney ‘ Date 07/11/2019
Signature of attorney for debtor 4 MM /DD /YYYY
Charles E. Simpson, Esq.
Printed name
Windels Marx Lane & Mittendorf, LLP
Firm name
156 West 56th Street
Number Street
New York NY 10019
City State ZIP Code
(212) 237-1070 csimpson@windelsmarx.com
Contact phone Email address
1614544 NY
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 1-1y-44204-eSS DoOCLl FileaO//ili/ly centered Of/Llily Lriagiol

Debtor 5505 Associates LLC

Rider 1 to Voluntary Petition
A. Co-Mortgagor/A ffiliate Filings

On the date hereof, each of the Co-Mortgagors/Affiliated Entities listed below, including the
Debtor in this chapter 11 case (collectively, the “Debtors”), filed a Voluntary Petition in this Court for
relief under chapter 11 of Title 11 of the Unites States Code.

4811 Associates LLC

5507 Associates LLC

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Case 1-1y-44204-eSS DOC FileaO/s//ili/ly centered O//Llily Lragiol

OFFICER’S CERTIFICATE
OF
5505 ASSOCIATES LLC
July 11, 2019
The undersigned, Chu H. Kwon, Managing Member of 5505 Associates LLC, a New York LLC
(the “Company”) hereby certifies on behalf of the Company, as the Managing Member of the Company,
and not in any individual capacity, as follows:
1. Iam qualified and appointed Managing Member of the Company, and, as such, am familiar with
the facts herein certified, and I am duly authorized to certify the same on behalf of the Company.
2. Attached hereto is a true and complete copy of the resolutions of the Board of the Company.
3. Such resolutions have not been amended, altered, annulled, rescinded or revoked in any manner
and are in full force and effect as of the date hereof.

IN WITNESS WHEREOF, the undersigned has executed this certificate as of the 11th day of

July, 2019

 

Name: Chu H. Kwon
Title: Managing Member

{11717255:1}
Case 1-1y-44204-eSS DOC FileaO/s//ili/ly centered O//Llily Lragiol

RESOLUTIONS OF
5505 ASSOCIATES LLC (a New York Limited Liability Company)
July 11, 2019

5505 Associates LLC, a New York Limited Liability Company (the “Company”), does hereby
adopt the following resolutions:

Background

WHEREAS, the board of directors (the “Board’”) has evaluated the Company’s alternative in
connection with a possible restructuring and, after due consideration taking into account the information
available to it at this time, and after consultation with the Company’s management and legal, financial,
and other advisors, and in the exercise of its reasonable business judgment the Board has determined that
it is in the best in the best interest of the Company, its stakeholders, and its creditors to file a voluntary
petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)and
undertake the other actions approved by these Resolutions.

Company Resolutions

Chapter 11 Filing

IT IS RESOLVED that the Board has declared, and it hereby does declare, that it is in the best
interest of the Company and its stakeholders that the Company seek relief under Chapter 11 of the
Bankruptcy Code; and it is

FURTHER RESOLVED that the Company shall be, and hereby is, authorized to file a voluntary
petition (the “Petition”) for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”) in the
Bankruptcy Court for the Eastern District of New York (the “Bankruptcy Court”) and perform any and all
such acts as are reasonable, advisable, expedient, convenient, proper or necessary to effectuate the
purpose and intent of the foregoing; and it is

FURTHER RESOLVED that the Managing Member, hereby is authorized, and directed, in the
name and on behalf of the Company, to: (a) execute, acknowledge, deliver, and verify, the Petition and all
other ancillary documents, and cause the Petition to be filed with the Bankruptcy Court and make or cause
to be made prior to execution thereof of any modifications to the Petition or ancillary documents, in his
discretion, deems necessary, desirable or appropriate to carry out the intent and accomplish the purpose of
these resolutions; (b) execute, acknowledge, deliver, verify and file or cause to be filed all petitions,
schedules, statements, lists, motions, applications and other papers or documents necessary or desirable in
connection with the foregoing and the administration of the Company’s Chapter 11 Case; (c) execute,
acknowledge, deliver and verify any and all other documents necessary, desirable or appropriate in
connection therewith and to administer the Company’s Chapter 11 Case in such form or forms as may be
deemed necessary or advisable and in order to effectuate the purpose and intent of the foregoing
resolutions; and (d) engage any professionals, including attorneys, accountants, financial advisors,
investment bankers, actuaries, consultants, liquidators, or brokers he deems necessary, desirable or
appropriate to accomplish the purpose of these resolutions; that his authority to act under these resolutions

{11717259:1}
Case 1-1y-44204-eSS DOC FileaO/s//ili/ly centered O//Llily Lragiol

shall be conclusively evidenced by his so acting; and that any and all such actions heretofore taken on
behalf of the Company in such respects contemplated hereby are hereby ratified, approved and confirmed
as the act and deed of the Company.

Retention of Professionals

IT IS RESOLVED that the engagement by the Company of Windels Marx Lane & Mittendorf,
LLP as restructuring counsel is hereby ratified, adopted and approved in all respect; and it is

FURTHER RESOLVED that any additional co-counsel or special or local counsel selected by the
Company, shall be, and hereby, is authorized, empowered, and direct to represent the Company, as debtor
and debtor in possession, in connection with the Chapter 11 Case commenced by or against it under the
Bankruptcy Code.

Additional Resolutions

IT IS RESOLVED that all acts lawfully done or actions lawfully taken by the Managing Member
of the Company, or any professionals engaged by the Company in connection with the Chapter 11 Case
or any proceedings related thereto, or any matter related thereto, be, and herby are, adopted, ratified,
confirmed and approved in all respects as the acts and deeds of the Company; and it is

FURTHER RESOLVED that the Managing Member shall be, and hereby, is authorized, directed
and empowered, in the name and on behalf of the Company, as debtor and debtor in possession, to
negotiate, execute, delivery, and perform, or cause to be negotiated, executed, delivered, and performed,
on behalf of, and take such actions and execute, acknowledge, delivery and verify such agreements,
certificates, instruments, guaranties, notices and any and all other documents as any proper officer of the
Company may deem necessary or appropriate to facilitate the transactions contemplated by the foregoing
resolutions, as may be deemed necessary, desirable or appropriate.

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Case 1-1y-44204-eSS DOC FileaO/s//ili/ly centered O//Llily Lragiol

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
Chapter 11
5505 ASSOCIATES LLC,
Case No.
Debtor.

 

 

CORPORATE OWNERSHIP STATEMENT
Chu H. Kwon, hereby certifies the following to be true subject to penalties of perjury:

1. I am the Managing Member of the above-captioned Debtor, 5505 Associates LLC
(the “Debtor’).

2. The Debtor is not a public held corporation or other publicly held entity.
3. The Debtor is a New York Limited Liability Company.

4. None of the Debtor’s equity is held by a publicly held corporation or other
publicly held entity.

5. I submit this Statement based upon my personal knowledge and the books and
records of the Debtor.

Dated: New York, New York
July 11, 2019
5505 ASSOCIATES LLC
EE —_—

Nam& Cha . Kwon,
Title: Manager

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